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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                   NO. 3:23-CR-125

              v.                                           (Judge Mannion)

FRANK TASSIELLO,                                           (FILED UNDER SEAL)
        Defendant.

                                           ORDER

       AND NOW, this               .Pt,     day of     h
                                                       0
                                                                         2024, upon

consideration of the Motion for Continuance of Sentencing, the Court

hereby finds that a continuance outweighs the best interests of the public

and the Defendant in a speedy trial. Accordingly it is· hereby ordered as

follows:

       1.     The sentencing in this matter scheduled for January 19, 2024

1s hereby continued and will be rescheduled to take place on

. . :/?1$
     . . . . . .~-
                .__ a...- r_ __,, 2024; at /0 ~...ti If .m.;
       2.     The period of time from the signing of this Order to the

rescheduled date of the sentencing shall be excluded under the Speedy

Trial Act, Title 18, United States Code, Sectio 3161(h)(7).



                                                               E.MANNION
                                                               ICT COURT JUDGE
